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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                         Criminal No. 22-87 (ADM/JFD)

 UNITED STATES OF AMERICA,

                      Plaintiff,

         v.                                       NOTICE OF APPEARANCE

 CALVIN MARNEZE LEREON WRIGHT,

                      Defendant.


        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA

        Samantha H. Bates

Dated: September 29, 2022                       Respectfully submitted,

                                                ANDREW M. LUGER
                                                United States Attorney

                                                /s/ Samantha H. Bates

                                                BY: SAMANTHA H. BATES
                                                Assistant U.S. Attorney
                                                Attorney ID No. 0395002
